Case 2:18-cv-11047-KM-JBC Document 72-4 Filed 11/02/18 Page 1 of 2 PageID: 1284



Edwards, Kiel (019881991)
Eric S. Latzer (023192011)
Elizabeth A. Carbone (116052014)
COLE SCHOTZ P.C.
Court Plaza North
25 Main Street
P.0, Box 800
Hackensack, New Jersey 07602-0800
201-489-3000
201-489-1536 Facsimile
Attorneys for Defendants Garth Andre Naar and Avatar Management LLC

ERIC HANTMAN, PRIME NY, INC., EHP76B          UNITED STATES DISTRICT COURT
HECKEL LLC, EHP224N PARKER LLC,               FOR THE DISTRICT OF NEW JERSEY
HHP256 NEPTUNE LLC, EHP60N WAKEMAN            CIVIL ACTION NO. 2:18-cv-I I047-KM-JBC
LLC, EHP2480 CENTER LLC, EHP105N
SCHOFIELD LLC, UHP461-475E CATHERINE
                                                            Civil Action
LLC, EHP28-30 GREYLOCK LLC,
HHP6600NB SMITH LLC, EHPI20N IVY LLC,
EHP242EO BURNETT LLC, and EHP312N
                                                    CERTIFICATE OF SERVICE
SUMMER LLC,

                        Plaintiffs,

         V.


GARTH ANDRE NAAR, AVATAR
MANAGEMENT LLC, and SILVAN REAL
ESTATE INCOME FUND, LP,

                        Defendants.
      and

EHP76B HECKEL LLC, EHP224N PARKER
LLC, HHP256 NEPTUNE LLC, UHP461-
HHP6600NB SMITH LLC, 475E CATHERINE
LLC, EPH28-30 GREYLOCK LLS, and
EPH312N SUMMER LLC,

                        Nominal Defendants.




58225/000l-I6509559vI
Case 2:18-cv-11047-KM-JBC Document 72-4 Filed 11/02/18 Page 2 of 2 PageID: 1285



        FRANCES PISANO, of full age, hereby certifies as follows:

1.      I am a paralegal with the law firm Cole Schotz P.C., attorneys for defendants Garth

Andre Naar and Avatar Management LLC ((collectively, the “Avatar Parties”) in the above-

captioned matter. I am over the age of eighteen (18) years and not a party to this action,

2.      I certify that on November 2, 2018, this office caused the following documents in support

of Cole Schotz P.C.’s motion for leave to withdraw as counsel for the Avatar Parties to be filed:

                  (a)   Notice of Motion for Leave to Withdraw as Counsel for Defendants Garth
                  Andre Naar and Avatar Management LLC;

                  (b)   Cole Schotz P.C.’s Brief in Support of Motion for Leave to Withdraw as
                  Counsel for Defendants Garth Andre Naar and Avatar Management LLC;

                  (c)    Declaration of Edward S. Kiel, Esq. in Support of Cole Schotz P.C.’s
                  Motion for Leave to Withdraw as Counsel for Defendants Garth Andre Naar and
                  Avatar Management LLC; and

                  (d)   [Proposed] Order Granting Cole Schotz P.C.’s Motion for Leave to
                  Withdraw as Counsel for Defendants Garth Andre Naar and Avatar Management
                  LLC

3.       Service of the foregoing documents was effectuated via electronic mail and Federal

Express on Garth Andre Naar and Avatar Management LLC, 4 South Orange Avenue, South

Orange, New Jersey 07070. All counsel of record received electronic notifications and copies of

the filing.

         I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.




                                              kANCES PISANO
DATED: November 2, 2018




58225/0001-16509559vl
